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                Exhibit A
       (Previously Filed as Exhibit 9 to the Decl. of
         Bryon Becker, Dkt. Nos. 581-9 & 597-8)
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                                 HIGHLY CONFIDENTIAL

                                                                       Page 1

   1
   2             H I G H L Y      C O N F I D E N T I A L
   3
           IN THE UNITED STATES DISTRICT COURT
   4       FOR THE EASTERN DISTRICT OF VIRGINIA
           ALEXANDRIA DIVISION
   5       -----------------------------x
           UNITED STATES, et al.,
   6
                           Plaintiffs,
   7
                       vs.                             Case No.
   8                                                  1:23-cv-000108
           GOOGLE LLC,
   9
                        Defendant.
  10       -----------------------------x
  11
  12                     HIGHLY CONFIDENTIAL
  13          VIDEOTAPED DEPOSITION OF BENNEASER JOHN
  14                     New York, New York
  15                  Friday, September 8, 2023
  16                         9:17 a.m.
  17
  18
  19
  20
  21
  22
  23       Reported by:
           Jennifer Ocampo-Guzman, CRR, CLR
  24       JOB NO. 6082515
  25

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                                                    HIGHLY CONFIDENTIAL
                                                           Page 2                                             Page 4
       1                                                             1
       2                                                             2 APPEARANCES (Continued):
       3                                                             3
       4                                                             4   ORRICK HERRINGTON & SUTCLIFFE LLP
       5                                                             5   Attorneys for nonparty Microsoft and the
       6                                                             6   Deponent
       7                                                             7      1152 15th Street, N.W.
       8                                                             8      Washington, D.C. 20005-1706
       9                    September 8, 2023                        9   BY: EILEEN COLE, ESQ.
      10                    9:17 a.m.                               10      ALLEN DAVIS, ESQ., (via Zoom)
      11                                                            11
      12                                                            12 ALSO PRESENT:
      13            HIGHLY CONFIDENTIAL                             13   CARLOS RIVERA, Videographer
      14          Videotaped Deposition of                          14
      15      BENNEASER JOHN, held at the offices of                15
      16      Paul, Weiss, Rifkind, Wharton &                       16
      17      Garrison LLP, 1285 Avenue of the                      17
      18      Americas, New York, New York, pursuant                18
      19      to subpoena, before Jennifer                          19
      20      Ocampo-Guzman, a Certified Realtime                   20
      21      Shorthand Reporter and Notary Public of               21
      22      the State of New York.                                22
      23                                                            23
      24                                                            24
      25                                                            25
                                                           Page 3                                             Page 5
        1                                                            1       HIGHLY CONFIDENTIAL
        2 A P P E A R A N C E S:                                     2       THE VIDEOGRAPHER: Good morning.
        3                                                            3    We are going on the record at 9:17 a.m.
        4   UNITED STATES DEPARTMENT OF JUSTICE                      4    on September 8, 2023. Please note that
        5   Attorneys for Plaintiff United States                    5    the microphones are sensitive and may
        6       325 7th Street, Suite 300                            6    pick up whispering and minor
        7       Washington, DC 20004                                 7    conversations; and please mute your
        8   BY: JEFFREY VERNON, ESQ.                                 8    phones at this time. Audio and video
        9       KAITLYN BARRY, ESQ.                                  9    recording will continue to take place
       10       JEFF QUI, ESQ., (via Zoom)                          10    unless all parties agree to go off the
       11                                                           11    record.
       12   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP            12       This is media unit number 1 of the
       13   Attorneys for Defendant Google LLC                      13    video-recorded deposition of Benneaser
       14       1285 Avenue of the Americas                         14    John taken by counsel for defendant, in
       15       New York, New York 10019                            15    the matter of the United States of
       16   BY: KAREN DUNN, ESQ.                                    16    America versus Google LLC, filed in the
       17       ERICA SPEVACK, ESQ.                                 17    United States District Court, for the
       18       WILLIAM ISAACSON, ESQ. (p.m. session)               18    Eastern District of Virginia, case
       19       JULIA WOOD, ESQ., (via Zoom)                        19    number 1:23-cv-000108-LMB-JFA. The
       20                                                           20    location of this deposition is 1285
       21   AXINN, VELTROP & HARKRIDER LLP                          21    Avenue of the Americas, New York, New
       22   Attorneys for Defendant Google LLC                      22    York. My name is Carlos Rivera
       23       55 Second Street                                    23    representing Veritext and I'm the
       24       San Francisco, California 94105                     24    videographer. The court reporter is
       25   BY: ISABELLA SOLORZANO, ESQ.                            25    Jennifer Ocampo-Guzman also representing
                                                                                                     2 (Pages 2 - 5)
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                                            HIGHLY CONFIDENTIAL
                                                    Page 282                                               Page 284
       1        JOHN - HIGHLY CONFIDENTIAL                      1       JOHN - HIGHLY CONFIDENTIAL
       2    answer was about demand.                            2   SSPs wide array of publisher inventory,
       3       Q. Right. But before you spoke about             3   right?
       4    demand and we will get to demand, you said          4      A. I do not.
       5    Xandr didn't have first-party properties. Do        5      Q. And you don't dispute that when the
       6    you remember saying that?                           6   document says, Microsoft Audience Network
       7       A. Correct.                                      7   demand originated from Bing search and
       8       Q. Okay. Is it the case that                     8   Microsoft audience -- Microsoft Audience
       9    Microsoft has first-party properties?               9   Network audience buys, that it's describing
      10       A. That is correct.                             10   this as unique demand to which Xandr's
      11       Q. And Microsoft has now acquired               11   publishers will have access following the
      12    Xandr, right?                                      12   Microsoft/Xandr acquisition?
      13       A. That is correct.                             13      A. That is correct.
      14       Q. Now, you did also mentioned                  14      Q. Okay. So you're bringing the
      15    availability of demand, and I would ask you        15   demand that Microsoft has access to as a
      16    just to look at the document in front of you       16   result of its search advertising to Xandr's
      17    dated November 2022.                               17   publishers through Xandr Monetize, correct?
      18       A. Uh-huh, yes.                                 18      A. Xandr publishers are one of the
      19       Q. And if you looked at the left-hand           19   publishers. MSAN is and will continue to
      20    side of the page, this is a Xandr document,        20   provide the demand to outside of Monetize as
      21    after the acquisition by Microsoft and it          21   well.
      22    refers to "Unique Demand." Do you see that?        22      Q. Right. And while we're on the
      23       A. That is correct.                             23   topic of demand, you spoke earlier about how
      24       Q. And if you look at "Unique Demand"           24   sophisticated publishers on the supply side
      25    then there are four categories and the four        25   are partnering with Xandr and so you
                                                    Page 283                                               Page 285
        1       JOHN - HIGHLY CONFIDENTIAL                      1        JOHN - HIGHLY CONFIDENTIAL
        2   categories are projects that Microsoft and          2   mentioned Axel Springer, right?
        3   Xandr are working on. Do you see that?              3       A. That is correct.
        4      A. That is correct.                              4       Q. News Corp is one, right?
        5      Q. And the first project is called               5       A. News Corp is not an Axel customer.
        6   Microsoft Audience Network bidder                   6   They're an SSP, but they're primarily Google
        7   integration. Do you see that?                       7   customer.
        8      A. Yes, I do.                                    8       Q. Right, but they're a publisher that
        9      Q. And in the "Primary Audience and              9   works with Xandr?
       10   Benefit" column, listing the primary audience      10       A. As an SSP.
       11   and benefits of the Microsoft Audience             11       Q. As an SSP, Hulu?
       12   Network bidder integration, it says, Monetize      12       A. Hulu did not work with us.
       13   SSP sellers will now get access to Microsoft       13       Q. How about CNN?
       14   Audience Network demand originating from Bing      14       A. CNN as an SSP, not as an ad server
       15   Search and Microsoft Audience Network              15   customer.
       16   audience buys. Do you see that?                    16       Q. How about Warner Media?
       17      A. Yes, I do.                                   17       A. Warner Media did not use as an ad
       18      Q. All right. And then it says,                 18   server customer.
       19   Microsoft Audience Network "buyers will be         19       Q. SSP?
       20   able to access Monetize SSP's wide array of        20       A. SSP, that's correct.
       21   publisher inventory."                              21       Q. And Netflix, we've already talked
       22          Do you see that?                            22   about Netflix?
       23      A. Yes, I do.                                   23       A. Correct.
       24      Q. And you don't dispute that this              24       Q. Now, if you look down on the
       25   Microsoft Xandr document refers to Monetize        25   left-hand side of the page, also in the
                                                                                            72 (Pages 282 - 285)
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                                       HIGHLY CONFIDENTIAL
                                              Page 286                                               Page 288
       1     JOHN - HIGHLY CONFIDENTIAL                   1       JOHN - HIGHLY CONFIDENTIAL
       2 category of "Unique Demand" the fourth           2   that?
       3 project it refers to, it is "Microsoft           3          MR. VERNON: About Outlook?
       4 audience" -- sorry --                            4      Objection to form mischaracterizes and
       5       MS. DUNN: Strike that.                     5      beyond the scope.
       6                                                  6          MS. DUNN: I'll rephrase.
       7                                                  7      Q. Do you recall being asked some
       8                                                  8   questions by government counsel about
       9                                                  9   Microsoft's view of the world in 2007?
      10                                                 10      A. Today?
      11                                                 11      Q. No, he asked you questions about
      12                                                 12   2007, when he was talking about --
      13                                                 13      A. That's correct, during the talk,
      14                                                 14   yeah.
      15                                                 15      Q. This is the Microsoft website
      16                                                 16   today, as it appears today, and this is the
      17                                                 17   web page that talks about Xandr and premium
      18                                                 18   programmatic advertising. Do you see that in
      19                                                 19   front of you? If you look at the URL at the
      20                                                 20   top it says --
      21                                                 21      A. The URL, correct.
      22                                                 22      Q. -- "Xandr programmatic premium
      23                                                 23   advertising"?
      24                                                 24      A. That's correct.
      25                                                 25      Q. And Microsoft, this is on
                                              Page 287                                               Page 289
       1     JOHN - HIGHLY CONFIDENTIAL                   1       JOHN - HIGHLY CONFIDENTIAL
       2                                                  2   Microsoft's website and it's telling
       3                                                  3   advertisers and publishers that they can help
       4                                                  4   solve your buyers and sellers greatest
       5                                                  5   advertising challenges with Xandr's platforms
       6                                                  6   that enable you to unlock the full value of
       7                                                  7   running programmatic advertising campaigns
       8                                                  8   across screens and tapping into engaged
       9                                                  9   audiences. And so you don't disagree that
      10                                                 10   this is what Microsoft is telling people
      11                                                 11   today, do you?
      12                                                 12      A. I don't disagree.
      13                                                 13      Q. And if you look down, it refers to
      14                                                 14   the Xandr's end-to-end platforms?
      15                                                 15      A. That is correct.
      16                                                 16      Q. And would you do agree that having
      17       I would like you to look now at           17   an end-to-end platform helps prevent fraud?
      18 what we will mark as Exhibit 18.                18           MR. VERNON: Objection, leading,
      19       (MSFT Exhibit 18, Document                19      also scope.
      20    entitled, "Reach audiences across            20      A. Yes.
      21    screens with premium advertising,"           21      Q. If you look at page 2 of the
      22    marked for identification, this date.)       22   printout from Microsoft's website, it says
      23    Q. Now, you were asked by the                23   that premium advertising is available for a
      24 government counsel numerous questions about     24   variety of formats through Microsoft. Do you
      25 Microsoft's Outlook in 2007. Do you recall      25   see that?
                                                                                      73 (Pages 286 - 289)
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                                           HIGHLY CONFIDENTIAL
                                                   Page 290                                              Page 292
       1       JOHN - HIGHLY CONFIDENTIAL                      1       JOHN - HIGHLY CONFIDENTIAL
       2       A. Yes, that is correct.                        2 says "across digital formats," what formats
       3       Q. And it lists "connected TV, display          3 it's talking about?
       4   and native." Do you see that?                       4      A. It's display, audio, video, CTV.
       5       A. Yes, I do.                                   5      Q. All right. I would like to show
       6       Q. And it doesn't say those are, you            6 you, sir, our Tab 53.
       7   know, aimed at different people, it just            7          (MSFT Exhibit 19, Document
       8   talks about all three of those there, right?        8      entitled, "Xandr in Microsoft Product
       9          MR. VERNON: Objection, vague.                9      Synergy Slides - Phase 2 - For buyers -
      10       A. Can you clarify? What do you mean           10      Talk Track," Bates Nos.
      11   by that?                                           11      MSFT-LIT-0000004160 through
      12       Q. Microsoft is telling people through         12      MSFT-LIT-0000004163, marked for
      13   its website that you can reach your desired        13      identification, this date.)
      14   audience with one of the world's largest           14          MS. SPEVACK: Exhibits 19.
      15   marketplaces; it's talking about Xandr,            15          MS. DUNN: Exhibit 19.
      16   right?                                             16      Q. This is a document --
      17       A. Yes, that is correct.                       17          MR. VERNON: Can you wait until we
      18       Q. And it specifically mentions that           18      get copies?
      19   that goes from connected TV to display to          19          MS. COLE: And the first page?
      20   native. You see that?                              20      Metadata?
      21       A. Right. You can reach the audience           21          MS. DUNN: Yes, the first page is
      22   through one of those marketplaces, correct.        22      metadata. This is a document produced
      23       Q. Right.                                      23      by Microsoft to Google and the date is
      24          And it specifically advertises, if          24      November 9, 2022, on this document. It
      25   you look down, there is a picture of the TV        25      follows the Microsoft/Xandr acquisition
                                                   Page 291                                              Page 293
       1       JOHN - HIGHLY CONFIDENTIAL                      1        JOHN - HIGHLY CONFIDENTIAL
       2   show "Stranger Things," and you can see in          2       and it is a talk track for buyers meant
       3   the top left-hand corner that that's being          3       to accompany slides.
       4   shown on Netflix. Do you see that?                  4       Q. Do you have any reason to doubt
       5      A. Yes.                                          5   that this talk track for buyers was prepared
       6      Q. And today Microsoft is touting, you           6   in the ordinary course of business by
       7   can see on page 3, its exclusive technology         7   Microsoft employees?
       8   and sales partnership with Netflix. Do you          8       A. I don't know.
       9   see that?                                           9       Q. All right. One of the things that
      10      A. Yes, I do.                                   10   you talked about in your testimony with the
      11      Q. It says, "all CTV advertising                11   government attorney was demand, and so when
      12   served on Netflix is exclusively available         12   we're talking about demand, just to be clear,
      13   through the Microsoft advertising platform."       13   you mean advertisers are the demand side,
      14          Do you see that?                            14   right?
      15      A. Yes, I do.                                   15       A. That is correct.
      16      Q. And then if you go to the part at            16       Q. And the point of the advertisers in
      17   the bottom of the "Advertiser Platform,"           17   the demand is so that people can be reached
      18   today what Microsoft is telling people who         18   and see the ads, right?
      19   may be interested in its products that it has      19           MR. VERNON: Objection, leading.
      20   a robust data marketplace with access to           20       A. That is one unique talk point,
      21   premium supply across digital formats and          21   audience reach, yes.
      22   flexible ways to transact.                         22       Q. Right.
      23          Do you see that?                            23           And if you look at what it says in
      24      A. Yes, I do.                                   24   the buyer talk track under slide 4, it talks
      25      Q. And do you happen to know when it            25   about the "Microsoft Advertising
                                                                                          74 (Pages 290 - 293)
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                                         HIGHLY CONFIDENTIAL
                                                Page 294                                            Page 296
       1        JOHN - HIGHLY CONFIDENTIAL                1        JOHN - HIGHLY CONFIDENTIAL
       2   Marketplaces." Do you see that?                2          And so when Microsoft and Xandr are
       3       A. Yes, uh-huh, yes.                       3   talking to the buyers about buying across
       4          MR. VERNON: Show us where you are. 4        channels and formats, what they're talking
       5          MS. DUNN: I'm on --                     5   about is, at least, CTV, gaming, shopper
       6          MR. VERNON: Never mind. I'm good. 6         marketing, native and display, right?
       7       Q. And it describes Microsoft              7          MR. VERNON: Objection,
       8   advertising ecosystem as expansive. Do you     8       mischaracterizes native, display --
       9   see that?                                      9       Q. It that what it says?
      10       A. Which paragraph? The second one?       10       A. It says advertisers were able to
      11       Q. It's on slide 4, "Microsoft            11   reach across different audiences and
      12   Advertising Marketplaces" and it says,        12   different formats.
      13   "Microsoft advertising's expansive            13       Q. Right. And it's telling buyers,
      14   ecosystem." Do you see that?                  14   advertisers that they can reach people
      15       A. Yes, I do.                             15   through CTV, gaming, shopper marketing and
      16       Q. And Microsoft's expansive ecosystem 16      native all as a result of Microsoft and
      17   allows you access to over one billion people. 17   Xandr, right?
      18   Do you see where it says that?                18       A. That is correct.
      19       A. Yes, I do.                             19       Q. Okay. All right.
      20       Q. Do you happen to know that a           20          MS. DUNN: Okay. I would like to
      21   billion people is a seventh of the population 21       show you, if we can hand the witnesses
      22   on earth?                                     22       tabs 26, 27 and 28.
      23       A. Yes, I do.                             23          MS. SPEVACK: It will be
      24          MS. COLE: That's beyond the scope.     24       Exhibit 20.
      25       Q. Now, do you have any reason to         25          (MSFT Exhibit 20, Natively produced
                                                Page 295                                            Page 297
       1     JOHN - HIGHLY CONFIDENTIAL                 1         JOHN - HIGHLY CONFIDENTIAL
       2 doubt that this is true?                       2        document, PowerPoint presentation
       3    A. I do not.                                3        entitled, "Welcome to Microsoft
       4    Q. Now, it then says, "Here's a closer      4        Advertising," Bates Nos.
       5 look at the inventory available." And it       5        MSFT-LIT0000002147, marked for
       6 mentions Microsoft search network,             6        identification, this date.)
       7 Microsoft's owned and operated sites that we   7            MS. SPEVACK: 21.
       8 went through, Microsoft Audience Network,      8            (MSFT Exhibit 21, Document, Bates
       9 which includes MSN, Outlook and Edge and it    9        Nos. MSFT-LIT0000033249 through
      10 mentions PromoteIQ which is the retail outfit 10        MSFT-LIT0000033254, marked for
      11 that we talked about. Do you see that?        11        identification, this date.)
      12    A. Yes, I do.                              12        Q. I'm just going to ask you if
      13    Q. And Microsoft also wants buyers to      13     they're documents prepared in the ordinary
      14 know that Xandr is one of the largest global  14     course of business. And I'm not going to ask
      15 programmatic marketplaces. Do you see that?   15     you any questions about them.
      16    A. Yes, I do.                              16            MS. SPEVACK: And 22.
      17    Q. Now if you look at slide 5 in the       17            (MSFT Exhibit 22, Natively produced
      18 buyers talk track. It says, "We're excited    18        document, PowerPoint presentation
      19 to be working as part of Microsoft to create  19        entitled, "Xandr Ad Server/Supplement,"
      20 new valuable opportunities for advertisers.   20        Bates No. MSFT-LIT0000028835, pages 1
      21 With Microsoft, we're gaining significant     21        through 16, marked for identification,
      22 momentum across CTV, gaming shopper marketing 22        this date.)
      23 and native - further strengthening Xandr and  23            (Discussion off the record.)
      24 Invest DSP as your strategic partner to buy   24        Q. So those three documents that I
      25 across channels and format."                  25     just handed to you --
                                                                                      75 (Pages 294 - 297)
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                                            HIGHLY CONFIDENTIAL
                                                    Page 298                                              Page 300
        1       JOHN - HIGHLY CONFIDENTIAL                      1       JOHN - HIGHLY CONFIDENTIAL
        2          MR. VERNON: Do you have 20 and 21?           2   Microsoft's "Meta DSP," and it describes Meta
        3          MS. DUNN: I'm not asking any                 3   DSP as a "fully integrated Omnichannel DSP
        4      questions about them. But, yeah,                 4   that provides an easy way to run omnichannel
        5      they're here. Okay.                              5   campaigns using premium inventory and
        6      Q. So my question about each of those            6   exclusive data." Do you see that?
        7   three is the same, whether you recognize            7      A. That is correct.
        8   those as documents prepared by your company         8      Q. What is an omnichannel campaign?
        9   employees in the ordinary course of business?       9      A. An omnichannel campaign is a buyer
       10      A. That is correct.                             10   can buy multiple formats through one DSP.
       11      Q. They have all been produced to               11      Q. And why do you believe that an
       12   Google in this litigation?                         12   advertiser or buyer would want to run an
       13      A. That is correct.                             13   omnichannel campaign?
       14      Q. Okay.                                        14      A. We believe that's where the
       15          MS. DUNN: Let's show the witness            15   industry is going and currently, I think I
       16      our Tab 23.                                     16   said earlier, the agencies and buyers still
       17          MS. SPEVACK: This will be                   17   operate different teams by different formats.
       18      Exhibit 23.                                     18      Q. And in your opinion, do advertisers
       19          (MSFT Exhibit 23, Natively produced         19   care about reaching their target users?
       20      document entitled, "Advertising at              20      A. Advertiser care about the reaching
       21      Microsoft Before June 7th, 2022," Bates         21   target users and they care about getting
       22      No. MSFT-LIT-0000030367, pages 1 through        22   their return on their ad dollars and they
       23      14, marked for identification, this             23   also care about how and who reaching the
       24      date.)                                          24   budget, so each format they also operate
       25      Q. Now, this is a document where the            25   their own groups, and that's how they manage
                                                    Page 299                                              Page 301
       1         JOHN - HIGHLY CONFIDENTIAL                     1        JOHN - HIGHLY CONFIDENTIAL
       2    metadata suggests that you prepared it.             2   the budgets also.
       3        A. That is correct.                             3       Q. And are you aware whether
       4        Q. Okay. And is it, was it prepared             4   advertisers ever shift money across channels
       5    in the ordinary course of business?                 5   if they're not getting a return that they
       6        A. That is correct.                             6   like?
       7        Q. Can you turn to page 10 of 14? Now           7          MR. VERNON: Objection to form,
       8    first I will ask you, what was the purpose of       8       vague, leading.
       9    preparing this document?                            9       A. That's what I was hoping the
      10        A. It's an internal discussion to --           10   industry would move, but it's very hard.
      11    let me see, two more slides -- just to orient      11       Q. And then in your slide that talks
      12    myself to come up with plan and next steps.        12   about the omnichannel campaign, it lists in
      13    It's more like my stock meeting I believe.         13   red what I take to be the various channels;
      14        Q. So this is --                               14   is that correct?
      15        A. So it says, thinking, this was              15       A. Formats, channels, that's correct.
      16    thinking. It's more like my thought                16       Q. And so what are the omni channels,
      17    processes I just put together on these             17   what are --
      18    slides. If you noticed the last few slides         18          MS. DUNN: Strike that.
      19    are not properly formatted or beautified.          19       Q. The channels that you've listed as
      20        Q. So you said this is about plan and          20   part of Microsoft's meta DSP, which would be
      21    next steps. Did you say that?                      21   a fully integrated omnichannel DSP, includes
      22        A. That is correct.                            22   search display, native, video, CTV, DOOH,
      23        Q. So if you look at slide 10 of 14?           23   which is --
      24        A. 10 of 14, yes.                              24       A. Digital out of home.
      25        Q. The title of the slide is:                  25       Q. -- digital out of home -- ATV, what
                                                                                            76 (Pages 298 - 301)
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                                           HIGHLY CONFIDENTIAL
                                                   Page 302                                               Page 304
       1        JOHN - HIGHLY CONFIDENTIAL                     1        JOHN - HIGHLY CONFIDENTIAL
       2   is that? Is that analog TV perhaps?                 2   right-hand side of your slide, that talks
       3       A. Probably. We call it like linear             3   about the Meta DSP?
       4   TV. I don't know why it's called ATV here.          4       A. That's right.
       5       Q. -- gaming, audio and social.                 5       Q. You list various SSP programmers?
       6          Now let me ask this question, which          6       A. That is correct.
       7   is: You said earlier that display is on a           7       Q. And there is various kinds of
       8   decline. Are any of these various channels          8   inventory here in your, in the slide that you
       9   on a growth trajectory?                             9   envision. There is social media. There is,
      10          MR. VERNON: Objection to form,              10   I see Meta. I see Instagram. There is
      11       mischaracterizes and vague.                    11   streaming. I see Roku and Netflix and Hulu.
      12       A. Video and CTV are in the growth.            12   There is gaming. There is Spotify and there
      13       Q. And is gaming also a growth area?           13   is a search.
      14       A. I don't have specific numbers to            14          Do you see all of those programs on
      15   believe that.                                      15   the right?
      16       Q. But based on your experience, would         16       A. That is correct.
      17   you think so?                                      17       Q. And so does that mean that part of
      18       A. They're not running a lot on                18   Microsoft Meta DSP would take advantage of
      19   gaming, so I don't have data to provide you        19   supply that comes from all of those types of
      20   on.                                                20   inventory?
      21       Q. And what about social, is that a            21          MR. VERNON: Objection, vague,
      22   growth area?                                       22       compound.
      23          MR. VERNON: Objection, form.                23       A. To be clear, this is now not direct
      24       A. I don't have a direct information           24   integration.
      25   about social.                                      25
                                                   Page 303                                               Page 305
       1       JOHN - HIGHLY CONFIDENTIAL                      1      JOHN - HIGHLY CONFIDENTIAL
       2      Q. Okay. And then if you look on the             2
       3   right-hand side under SSP, programmers and          3
       4   clubs, you see that --                              4
       5      A. Page number, please.                          5
       6      Q. I'm sorry, on the same slide.                 6
       7      A. Same slide, yeah.                             7
       8          MS. DUNN: And actually strike                8
       9      that.                                            9
      10      Q. One last question on the last                10
      11   piece. If an advertiser wasn't seeing a            11
      12   return on investment on display might they         12
      13   shift advertising dollars to CTV or something      13
      14   else?                                              14
      15          MR. VERNON: Objection to form,              15
      16      vague and leading.                              16         MS. DUNN: Can we go off the
      17      A. As I said, I haven't seen that               17      record?
      18   happen based on the RFPs that we received.         18         THE VIDEOGRAPHER: The time is
      19      Q. But you agree it's possible?                 19      6:01 p.m. and we're off the record.
      20      A. It is.                                       20         (A brief recess was taken.)
      21          MR. VERNON: Objection to form.              21         THE VIDEOGRAPHER: The time is
      22      A. It's possible they make the                  22      6:04 p.m. and we are back on the record.
      23   decisions, but I don't have a direct data          23         MS. DUNN: Mr. John, I'm handing
      24   point on that.                                     24      what we marked as Microsoft 24.
      25      Q. Okay. Now, if you look on the                25         (MSFT Exhibit 24, Document
                                                                                           77 (Pages 302 - 305)
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                                            HIGHLY CONFIDENTIAL
                                                    Page 306                                              Page 308
        1        JOHN - HIGHLY CONFIDENTIAL                     1        JOHN - HIGHLY CONFIDENTIAL
        2       entitled, "Microsoft Advertising                2       Q. We just want you to verify those
        3       Ecosystem," marked for identification,          3   are the documents that you brought with you
        4       this date.)                                     4   to this deposition.
        5       Q. This is just a computerized version          5       A. This is something that I couldn't
        6   of the schematic that you marked up earlier,        6   read. This looks like it.
        7   and I just want to give you a one more              7       Q. Just make sure they're your
        8   opportunity to -- I think we got everything         8   authentic cheat sheets.
        9   right that you said, but if there is anything       9            MS. COLE: And they're all still
       10   that we got wrong, please let us know. And         10       designated "highly confidential."
       11   otherwise, we will be done.                        11            MS. DUNN: Understood.
       12           MS. COLE: Take a minute and review         12       A. That is correct.
       13       it and make sure that it's accurate and        13            MS. DUNN: Thank you, very much,
       14       has whatever limitations in it you want.       14       sir.
       15       Take the time and review it.                   15            THE WITNESS: Thank you.
       16       A. Can I clarify a couple of things?           16            MR. VERNON: So we do have some
       17       Q. Sure.                                       17       questions. I don't believe it will be
       18       A. So when I put an Microsoft                  18       the full hour we have left. I can
       19   advertising line to here, Bing is the only         19       actually go now or we can take a short
       20   one, DuckDuckGo, AOL and Yahoo run                 20       break.
       21   separately. We provides the APIs and the           21            THE WITNESS: It's up to you. I
       22   mechanisms, so users don't X one thing, but        22       can go.
       23   just, you know, since you put that box here,       23   EXAMINATION BY
       24   I just wanted to clarify that.                     24   MR. VERNON:
       25           The MSX, display and native, just          25       Q. Earlier counsel for Google asked
                                                    Page 307                                              Page 309
        1     JOHN - HIGHLY CONFIDENTIAL                1               JOHN - HIGHLY CONFIDENTIAL
        2 one change there.                             2           you some questions about a document
        3        Yes.                                   3           discussing unique demand for Microsoft. Do
        4    Q. Just one quick question, can you        4           you remember that?
        5 access Bing and DuckDuckGo and AOL and Yahoo 5               A. That is correct, yes.
        6 through Microsoft Advertising?                6              Q. For display, which company has more
        7    A. AOL and DuckDuckGo and Yahoo, they      7           unique demand, Google or Microsoft?
        8 leverage our search network. Right. From an   8              A. Google.
        9 advertising buying perspective, APR sending   9                  MS. DUNN: Objection to form.
       10 advertising dollars, I don't recall what I   10              Q. Why do you say that?
       11 think about that. Sorry.                     11              A. Because the display advertising
       12    Q. Do we need to do anything to the       12           that runs across all the publishers from a
       13 schematic, or are you okay?                  13           small scale and large scale, Google has the
       14    A. You can leave this now.                14           largest supply. So advertiser dollars goes
       15    Q. Great.                                 15           from -- advertisers dollars comes through
       16        And then that's an exhibit. You       16           Google for display.
       17 can keep that. And then, sorry, one last     17              Q. Which company has the most unique
       18 thing is, we've marked your cheat sheets as  18           demand for display?
       19 Microsoft 25, 26 and 27.                     19              A. Google.
       20        (MSFT Exhibit 25, Cheat sheet,        20              Q. The unique demand that Microsoft
       21    marked for identification, this date.)    21           and its companies have, it's available
       22        (MSFT Exhibit 26, Cheat sheet,        22           through is Xandr's SSP; is that right?
       23    marked for identification, this date.)    23              A. That is correct.
       24        (MSFT Exhibit 27, Cheat sheet,        24              Q. Does Xandr's SSP bid on a realtime
       25    marked for identification, this date.)    25           basis for a publisher, even when that
                                                                                            78 (Pages 306 - 309)
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      800-567-8658                                                                                 973-410-4098
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                                           HIGHLY CONFIDENTIAL
                                                   Page 310                                              Page 312
        1       JOHN - HIGHLY CONFIDENTIAL                 1           JOHN - HIGHLY CONFIDENTIAL
        2   publisher does not use Xandr's publisher ad    2       technology and charge a fee. If you are
        3   server?                                        3       leveraging an ad server, you would pay a fee
        4      A. Of course, yes.                          4       and you would leverage the technology. From
        5      Q. Why?                                     5       a demand source, they can be bring their own
        6      A. Because by the start of the, open        6       demand through managed IO. Like a direct
        7   the ecosystem, that when a demand that comes 7         sale. We bring the demand from what is
        8   through Microsoft and the demand goes through 8        available, third-party demand available, so
        9   monetize, you would be able to access through 9        we have more providing a technology solution
       10   the third-party websites apps, through an     10       for them, so we treat those things separate.
       11   SSP.                                          11          Q. Google's counsel asked you some
       12      Q. Does Google AdX do the same thing? 12            questions about Microsoft's position in
       13      A. Google AdX make the demand              13       display. Do you remember that?
       14   available, but not all demand is available    14              MS. DUNN: Objection to scope.
       15   through that, the large demand goes through   15          A. Microsoft questions specifically on
       16   the direct customers, those are part of AdX,  16       display?
       17   just access to customers.                     17          Q. Right.
       18      Q. Does Google's AdX bid on a realtime     18          A. Can you clarify what is the
       19   basis --                                      19       question, so I will be able to confirm?
       20          MR. VERNON: Let me ask a different 20                  MR. VERNON: I'll be honest. My
       21      question.                                  21          memory is not perfect at this late hour.
       22      Q. How does Xandr's practice of making 22              Q. I recall counsel asking you
       23   the demand available on Xandr's SSP           23       questions about Microsoft's position in
       24   different, if at all, from Google's AdX's     24       display. Do you remember that, or no?
       25   practice of making the demand on Google AdX 25            A. Positioning about -- in my
                                                   Page 311                                              Page 313
        1       JOHN - HIGHLY CONFIDENTIAL                     1       JOHN - HIGHLY CONFIDENTIAL
        2   available to publishers that don't use             2   understanding, it's not Microsoft's
        3   Google's publisher ad server?                      3   positioning of the market, whether it's
        4      A. So Xandr Monetize gets a demand to           4   demand goes only to display or omnichannel,
        5   Invest, through Microsoft, with this               5   how the demand gets diverted against multiple
        6   integration, and it was getting before too,        6   formats.
        7   and third-party DSPs, like Google. So we get       7      Q. Let me ask you this: For display
        8   the demand. When they get the demand,              8   in general, which company has a larger
        9   through monetize exchange, any publishers,         9   position, Google or Microsoft?
       10   those who are winning, will get the demand,       10          MS. DUNN: Objection to form.
       11   right through our exchange. And if your           11      A. Google.
       12   question, now your question is specifically       12      Q. And how big is the difference?
       13   about the unique first-party demand, which is     13          MS. DUNN: Objection to form. He's
       14   Xandr and Microsoft, it runs the same option      14      not a competition expert.
       15   that we run for any third-party. So from a        15      A. Based on the demand that we see
       16   greeting option perspective, third-party          16   from Google, as well as the publisher market
       17   vendors and first-party vendors go through        17   share that Google has, Microsoft and -- I
       18   the same process.                                 18   believe it's Google has the largest.
       19      Q. Does Xandr tell publishers that if          19      Q. Let me show you one document.
       20   they want access to Xandr's unique demand,        20          MR. VERNON: What number are we at?
       21   they must use Xandr's publisher ad server?        21          MS. SPEVACK: This one is going to
       22      A. No, we do not.                              22      be 28.
       23      Q. And why?                                    23          (MSFT Exhibit 28, PowerPoint
       24      A. So we treat those two things                24      presentation entitled, "2019 Publisher
       25   separately. We provide access to specific         25      Tools and Direct Supply," Bates Nos.
                                                                                          79 (Pages 310 - 313)
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                                          HIGHLY CONFIDENTIAL
                                                  Page 318                                             Page 320
        1       JOHN - HIGHLY CONFIDENTIAL                1
        2   evolves, multiple players started picking     2   STATE OF ______________)
        3   compared to the display advertising.          3              ) :ss
        4      Q. Okay.                                   4   COUNTY OF _____________)
        5         MR. VERNON: Could we go off the         5
        6      record. Just give me two minutes. I        6
        7      just want to make sure I asked all the     7          I, BENNEASER JOHN, the witness
        8      questions.                                 8      herein, having read the foregoing
        9         THE VIDEOGRAPHER: The time is           9      testimony of the pages of this
       10      6:19 p.m. and we're off the record.       10      deposition, do hereby certify it to be a
       11         (A brief recess was taken.)            11      true and correct transcript, subject to
       12         THE VIDEOGRAPHER: The time is          12      the corrections, if any, shown on the
       13      6:21 p.m. and we're back on the record.   13      attached page.
       14      Q. Do you have that document in front     14
       15   of you that we were just looking at?         15               ______________________
       16      A. Yes, I do.                             16               BENNEASER JOHN
       17      Q. And the one that refers to the         17
       18   "marketplace lock-in in Display." Do you see 18   Sworn and subscribed to before
       19   that?                                        19   me, this        day of
       20      A. Yes, I do.                             20            , 2023.
       21      Q. Earlier counsel asked you some         21   _______________________________
       22   questions about meetings between the DOJ and 22   Notary Public
       23   Microsoft with Xandr. Do you remember that? 23
       24      A. Yes, I do.                             24
       25      Q. Did Microsoft or Xandr create this     25
                                                  Page 319                                             Page 321
        1     JOHN - HIGHLY CONFIDENTIAL                 1
        2 document that talks about marketplace lock-in 2          CERTIFICATE
        3 for display for purposes of showing it to the  3  STATE     OF NEW YORK )
        4 DOJ?                                           4                 : ss.
                                                         5 COUNTY OF NEW YORK )
        5    A. Absolutely not.
                                                         6         I, Jennifer Ocampo-Guzman, a
        6        MR. VERNON: Okay. With that, and
                                                         7 Certified Realtime Shorthand Reporter and
        7    unless counsel for Google has further       8 Notary Public within and for the State of New
        8    questions, I'm done with my questions,      9 York, do hereby certify:
        9    and I thank you and the court reporter     10         That BENNEASER JOHN, the witness
       10    and the videographer and to everyone for   11 whose deposition is hereinbefore set forth,
       11    taking the time to sit here on a Friday.   12 was duly sworn, and that such deposition is
       12        THE WITNESS: Thank you, all.           13 a true record of the testimony given by the
       13        MS. DUNN: Thank you very much. We 14 witness.
       14    appreciate you very, very much.            15         I further certify that I am not
       15        THE VIDEOGRAPHER: We're going off      16 related  to any of the parties to this action
       16    the record at 6:22 p.m., and this          17 by  blood   or marriage, and that I am in no
       17    concludes today's testimony given by Ben   18 way   interested  in the outcome of this
                                                        19 matter.
       18    John. The total number of media units
                                                        20         IN WITNESS WHEREOF, I have
       19    was five, and they will be retained by
                                                        21 hereunto set my hand this 12th day of
       20    Veritext.                                     September 2023.
       21        (Time noted: 6:22 p.m.)                22
       22                                               23
       23                                                                <%5137,Signature%>
       24                                               24         JENNIFER OCAMPO-GUZMAN, CRR, CLR
       25                                               25

                                                                                       81 (Pages 318 - 321)
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